                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                          Docket No. 3:13-CR-00019-FDW

UNITED STATES OF AMERICA,           )
                                    )
                        Plaintiff,  )
                                    )
vs.                                 )                        ORDER
                                    )
 (1) THEODORE FALLS,                )
                                    )
                        Defendant. )
___________________________________ )
CASSANDRA LIGON                     )
                        Petitioner  )
___________________________________ )

       This Matter is before the Court on Petitioner Cassandra Ligon’s unopposed Motion for

an Extension of Time to respond to the Government’s Motion to Dismiss Third-Party Petition, or

in the Alternative, for Judgment on the Pleadings, (Doc. No. 132). (Doc. No. 139). For good

cause shown, Petitioner’s Motion is GRANTED. Petitioner shall have until May 16, 2014, to

respond to the Government’s Motion.

       IT IS SO ORDERED.


                                   Signed: April 14, 2014




      Case 3:13-cr-00019-FDW          Document 141          Filed 04/15/14   Page 1 of 1
